                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


LABORATORY CORPORATION OF
AMERICA HOLDINGS,

                    Plaintiff,
                                      CASE NO. 1:14-cv-01029-TDS-JLW
                 -against-

WILLIAM G. KEARNS,

                    Defendant.




          DR. WILLIAM G. KEARNS’S MEMORANDUM OF LAW IN
        OPPOSITION TO MOTION FOR A PRELIMINARY INJUNCTION


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        The defendant, Dr. William G. Kearns, is a distinguished and highly respected

geneticist, who specializes in preimplantation genetic testing. This case concerns a

restrictive covenant that, while facially overbroad and unenforceable, is also limited by

an unusual exception allowing Dr. Kearns to undertake the very work he is currently

pursuing. For these reasons, the pending motion of the plaintiff, Laboratory Corporation

of America Holdings (“LabCorp”), for a preliminary injunction should be denied.

                                 FACTUAL SUMMARY

        Dr. Kearns is an associate professor, specializing in genetics, at the Johns Hopkins

University School of Medicine (“JHUM”) in Baltimore, Maryland. Ex. 1 at ¶ 1. In 2002,

Dr. Kearns became a 7% owner in the Shady Grove Center for Preimplantation Genetics

(the “Shady Grove Center”) in Rockville, Maryland. Id. at ¶ 5. There, he undertook

research in his specialized field—preimplantation genetic diagnosis (“PGD”)—and also

trained JHUM students and fellows. Id. at ¶ 4, 33. He also directed the Shady Grove

Center’s clinical PGD business. Id. at 5.

        PGD is the analysis of the DNA of newly-formed embryos created in vitro, or

outside the mother’s womb, in a laboratory. Ex. 1 at ¶ 7. PGD assesses whether genetic

abnormalities exist that counsel against embryo transfer. Ex. 1 at ¶ 8. At one time, PGD

technology was limited, which led to many failures to identify genetic abnormalities,

resulting in a high rate of miscarriage or failure to achieve a pregnancy. Id. at ¶ 9. In an

effort to overcome these limitations, Dr. Kearns and a colleague, Dr. Richard Leach,

undertook intensive research beginning in around 2003. Id. at ¶ 10.

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        By late 2006, Drs. Kearns and Leach had invented a process—akin to a very

complex recipe having scores of individual steps—that vastly improved PGD’s

reliability. Ex. 1 at ¶ 11-15. They described their invention in a Provisional Patent

Application (“the Provisional”), Ex. 1-A, filed in September 2006, entitled “Method for

in vitro fertilization (IVF) and genetic testing of human embryos for chromosome

abnormalities, single gene mutations, segregating genetic disorders in families, and

mitochondrial mutations.” Ex. 1 at ¶ 11.

        In 2007, LabCorp decided to acquire the Shady Grove Center. Ex. 1 at ¶ 18; see

also Ex. 1-B, 1-C. Initially, it insisted that Dr. Kearns sign a broad trio of restrictive

covenants, Ex. 1-D at ¶¶ 9(a)(i)–(iii), but he refused, recognizing that doing so would

prevent him from conducting the work described in the Provisional were he ever to resign

from or be fired by LabCorp. Ex. 1 at ¶ 19. To surmount this hurdle, the parties added a

broadly-worded exception to LabCorp’s standard non-competition agreement that

allowed Dr. Kearns to undertake any “actions, efforts, or business pursuits with respect to

the” Provisional. Id. at ¶ 20, 24-25; Ex. 1-D at ¶ 9(b).

        Drs. Kearns and Leach filed a permanent patent application in September 2007,

and thereafter, for the next five years, they pursued a grant of exclusivity for their

invention. Ex. 1 at ¶ 27. By 2012, however, the expense became too great for Drs. Kearns

and Leach to bear on their own (LabCorp having refused from the outset to share any of

the expense, reasoning that it already derived all the benefit of the invention by virtue of

Dr. Kearns’s clinical work), so they abandoned the effort. Id. at ¶ 29.

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        In January 2014, LabCorp stunned Dr. Kearns when it revealed that it would close

his Rockville lab several months later and henceforth refer all of its PGD business to a

New Jersey contract lab (“the contract lab”). Id. at ¶ 31. Rather than resign right away

and imperil the transition of LabCorp’s PGD business to the contract lab, Dr. Kearns

agreed to stay on and manage the transition. Id. at ¶ 32. But, recognizing that after his

LabCorp lab in Rockville was closed he would have no place to continue his research or

train his students and fellows, he formed a new entity, AdvaGenix LLC, and made plans

for AdvaGenix to open a new lab once the LabCorp facility was shuttered in May 2014.

Id. at ¶ 33, 38. Dr. Kearns also planned to use the AdvaGenix lab to conduct a

commercial PGD business at some future point—consistent with his invention and the

exception to the restrictive covenants in his employment agreement—once the transition

of LabCorp’s PGD business to the contract lab was completed. Ex. 1 at ¶ 34.

        Shortly after LabCorp closed its Rockville lab, a problem arose that resulted in the

contract lab’s refusal to complete certain time-sensitive PGD cases. Ex. 1 at ¶ 39. Dr.

Kearns revealed the existence of his new clinical lab to his supervisor, Jeffrey Schmalz,

and agreed to complete the cases himself and avert the crisis. Id. at ¶ 40, 44.

        By mid-summer 2014, a number of clinics complained to Dr. Kearns that the

contract lab was either unwilling or unable to perform certain difficult PGD cases and

that, henceforth, they would refuse to send these cases to the contract lab. Ex. 1 at ¶ 41-

42. Although Dr. Kearns repeatedly attempted to persuade these clinics to reverse their

decisions, they refused, and asked Dr. Kearns himself to undertake the cases. Id. at ¶ 42.

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At their request, then, he completed these cases; cases that would not have gone to the

contract lab whether AdvaGenix undertook them or not. Id. at ¶ 42-43.

        In late October 2014, Mr. Schmalz summoned Dr. Kearns to a meeting, also

attended by a senior LabCorp HR manager. Ex. 1 at ¶ 45. Mr. Schmalz accused Dr.

Kearns of hiding his formation of the AdvaGenix lab and of competing with LabCorp in

violation of his restrictive covenant. Id. Chagrined at the false accusations, Dr. Kearns

reminded Mr. Schmalz that he had disclosed the existence of his new lab to Mr. Schmalz

many months before, when Dr. Kearns had offered, and Mr. Schmalz had approved, the

new lab’s completion of certain time-sensitive PGD cases that the contract lab refused to

do. Id. Dr. Kearns also reminded Mr. Schmalz and the HR manager that his new

laboratory did not violate his non-compete, because that covenant explicitly permitted

him to perform PGD so long as he followed the process he had invented and described in

the Provisional. Id. at ¶ 47. At this point, looking very confused, Mr. Schmalz and the HR

manager dismissed Dr. Kearns and advised him that he was being placed on

administrative leave with pay. Id. Three weeks later, LabCorp terminated Dr. Kearns,

asserting—improperly and in breach of his employment agreement—that his termination

was for cause. Ex. 1 at ¶ 49.

                                      DISCUSSION

        I.       LabCorp’s Burden in seeking a Preliminary Injunction

        The issuance of a preliminary injunction is “an extraordinary remedy involving the

exercise of a very far-reaching power, which is to be applied only in the limited

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circumstances which clearly demand it.” Centro Tepeyac v. Montgomery Cnty., 722 F.3d

184, 188 (4th Cir. 2013) (en banc) (citation omitted); Winter v. Natural Res. Def.

Council, Inc., 555 U.S. 7, 22, 24 (2008). Before LabCorp can obtain a preliminary

injunction, it must make a “clear showing” that (1) it is likely to succeed on the merits of

its claims; (2) it is likely to suffer irreparable harm absent an injunction; (3) the balance

of the equities tips in its favor; and (4) an injunction is in the public interest. Winter, 555

U.S at 20, 22; Dewhurst v. Century Aluminum Co., 649 F.3d 287, 290 (4th Cir. 2011).

LabCorp must satisfy all four requirements before relief will be granted. Real Truth

About Obama, Inc. v. Federal Election Comm'n, 575 F.3d 342, 346 (4th Cir. 2009),

vacated on other grounds by 559 U.S. 1089 (2010). Moreover, it is not enough that

LabCorp identifies a grave or serious question for litigation; it must make a “clear”

demonstration it will “likely” succeed on the merits. Id. at 346–47.

        Here, LabCorp cannot satisfy all four conditions precedent to the grant of

extraordinary injunctive relief. Indeed, LabCorp cannot make a “clear showing” as to any

of the four requirements. As such, its motion should be denied.

        II.      LabCorp Cannot Demonstrate a Likelihood of Success on the Merits

        LabCorp’s motion for a preliminary injunction fails for two independent reasons.

First, the restrictive covenants LabCorp seeks to enforce are limited by a clearly-worded

exception; one that was intended to avoid the very dispute currently before the Court.

Ex. 1-D at ¶ 9(b). And second, under well-established North Carolina law, LabCorp’s

restrictive covenants are in any event facially overbroad and hence unenforceable.

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                 A. Dr. Kearns’s Employment Contract Expressly Permits Him to
                    Compete with LabCorp by Performing PGD in Accordance with
                    the Process Described in the Provisional Patent Application

        When LabCorp acquired the Shady Grove Center in July 2007, LabCorp initially

demanded that Dr. Kearns enter into an extensive, three-part restrictive covenant. Ex. 1 at

¶ 19. Discomfited with the breadth of the restrictions, Dr. Kearns insisted on an exception

(“the patent carve-out”) that allowed him to pursue PGD according to the process,

described in the Provisional, that he and Dr. Leach had invented. Id. at ¶ 20-21.

Accordingly, LabCorp and Dr. Kearns agreed that the restrictive covenants in

“Paragraphs 9(a)(i) through 9(a)(iii) [of the Employment Contract] shall not apply to [Dr.

Kearns’s] actions, efforts or business pursuits with respect to the” Provisional. Ex. 1-D, ¶

9(b) (emphasis added).1

        When contract language is clear and unambiguous, North Carolina courts will not

look beyond the terms of the contract to determine the parties’ intent, but instead will

construe the agreement as a matter of law. Lynn v. Lynn, 689 S.E.2d 198, 205 (N.C. App.

2010); Salvaggio v. New Breed Transfer Corp., 564 S.E.2d 641, 643 (N.C. App. 2002).

Where the language of the contract is clear, the court must enforce the contract as written.

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  An identical “carve-out,” for “actions, efforts and business pursuits with respect to the”
Provisional, also modified Dr. Kearns’s promise, in paragraph 1(a) of his Employment
Contract, to devote “his full time . . . and attention to” LabCorp business. Ex. 1-D, ¶ 1(a).
Similarly, Dr. Kearns also negotiated a “carve-out” to the restrictive covenants that
accompanied LabCorp’s agreement to acquire the Shady Grove Center, that explicitly
allowed Dr. Kearns to “develop[], market[], conduct[] clinical trials, and provid[e]
ongoing assistance in the development of the [Provisional] . . . as well as all products,
licenses, royalties, profits and processes derived from or there from,” Ex.1-C, ¶ 2
(emphasis added).

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Salvaggio, 564 S.E.2d at 643. Put another way, “words in a contract will be given their

common or normal meaning unless circumstances show a special meaning should be

attached to them.” Nat'l League of Junior Cotillions, Inc. v. Porter, No. 3:06-cv-508-

RJC, 2007 WL 2316823, at *4 (W.D.N.C. Aug. 9, 2007).

        Here, the “common or normal meaning” of the phrase “with respect to”—upon

which a proper construction of Dr. Kearns’s patent carve-out depends—is clear. As the

U.S. Court of Appeals for the First Circuit has held:

    Dictionaries describe the phrase “with respect to” as synonymous with the phrase
    “with reference or regard to something” . . . . So, too, courts describe the phrase
    “with respect to” as synonymous with the phrases “with reference to,” “relating
    to,” “in connection with,” and “associated with,” and they have held such phrases
    to be broader in scope than the term “arising out of,” to be broader than the
    concept of a causal connection, and to mean simply “connected by reason of an
    established or discoverable relation.”

Huffington v. T.C. Group, LLC, 637 F.3d 18, 21-22 (1st Cir. 2011) (citations omitted;

emphasis added); see also Forshey v. Principi, 284 F.3d 1335, 1350 (Fed. Cir. 2002) (en

banc) (“with respect to” means “relates to” or “concerns”).

        In light of the intentionally “broad[]” language that the parties chose for describing

Dr. Kearns’s authorized activities, it is plain that the “business pursuit” of conducting

PGD according to the very process described in the Provisional is “related to” or

“associated with” the Provisional; any other construction would do violence to the plain

words the parties chose. See Ex. 1-D, ¶ 9(b). As such, the restrictive covenants in Dr.

Kearns’s Employment Agreement do not apply to his current activities with AdvaGenix.



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        LabCorp, however, baldly claims (Mot. 15-16) that Dr. Kearns’s decision to

abandon the patent application process short of actually receiving a patent somehow

negated this exception. Neither the plain language of the parties’ agreement nor common

sense supports this claim.

        Had LabCorp intended to condition the viability of Dr. Kearns’s patent carve-out

on his successful acquisition of a patent, LabCorp’s lawyers could easily have said so in

the Employment Contract. LabCorp, however, points to nothing therein that even hints

that either party ever intended for the patent carve-out to apply only so long as Drs.

Kearns and Leach prosecuted their patent application to a successful outcome. LabCorp

simply states its position as an ipse dixit.2

        Indeed, it is clear that LabCorp did not so intend. When LabCorp closed the

Rockville lab in May 2014, it and Dr. Kearns amended his Employment Contract. Ex. 1

at ¶ 36; Ex. 1-E. The Amendment made four changes: it deleted and replaced three

paragraphs from the original 2007 contract, relating to Dr. Kearns’s job description, his

base salary, and his bonus formula; and it deleted, but did not replace, paragraph 4(b) of

the original contract, as that provision had become obsolete. Ex. 1-E at ¶ 1-4.


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  The language of the patent carve-out unambiguously permits Dr. Kearns to undertake
PGD according to the process described in the Provisional. Ex. 1-D, ¶ 9(b). But, even if
the carve-out were less clear than it is, such ambiguity would still compel denial of
preliminary injunctive relief. Novacare Orthotics & Prosthetics East, Inc. v. Speelman,
528 S.E.2d 918, 921-22 (N.C. App. 2000) (where language of non-compete deemed
ambiguous, “we hold that plaintiff has not made the requisite showing that it is likely to
succeed on the merits with respect to the claim seeking enforcement the covenant”).


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        Notably, the Amendment was silent on the subject of Dr. Kearns’s restrictive

covenants and the exception thereto for his pursuits related to the Provisional. See Ex. 1-

E at ¶ 5. By May 2014, however, Drs. Kearns and Leach had long since abandoned their

pursuit of a patent. Ex. 1 at ¶ 29. Thus, if LabCorp really believed that Dr. Kearns’s

failure to obtain a patent negated his right to engage in PGD according to the process

described in the Provisional, then LabCorp would have included a provision in the

Amendment, deleting but not replacing the patent carve-out, just as it deleted but did not

replace a different paragraph of the original contract that had become obsolete. See Ex. 1-

E at ¶ 4. That LabCorp did not do so refutes its claim that Dr. Kearns’s right to pursue

PGD, consistent with the process described in the Provisional, somehow expired when

Dr. Kearns chose not to continue his pursuit of a patent.

        Common sense, moreover, points to the same conclusion. Any patent application,

including the Provisional, does two principal things: it describes an invention and it seeks

a grant, from the United States government, of exclusive rights with respect to that

invention. See, e.g., 35 U.S.C. 154(a)(1). In arguing that Dr. Kearns’s failure to obtain a

patent ipso facto vitiates the carve-out, LabCorp focuses exclusively on the second and

ignores the first. The Provisional described Dr. Kearns’s invention and, to this day, he

still applies that process to the PGD testing he undertakes for clinical clients and patients.

Ex. 1 at ¶ 16, 29. That he does not have a patent covering that process neither voids the

process nor renders it invalid or ineffective. The lack of a patent means only that Dr.

Kearns cannot stop anyone else—including LabCorp, or the contract lab—from copying

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his process with impunity. Thus, there is no merit to the claim that Dr. Kearns’s decision

to forego the pursuit of exclusive rights to his invention affects his separate contractual

right to engage in “business pursuits” related to the Provisional.3

        LabCorp also argues (Mot. 16) that, if the carve-out allows Dr. Kearns to apply the

process he invented to the PGD cases he currently undertakes, then the exception

effectively swallows the rule and renders his restrictive covenants meaningless. This is

incorrect. As Dr. Kearns testified, his carve-out only permits him to undertake PGD

according to the process described in the Provisional. Ex. 2 at 242, 244. Although

LabCorp claims that there is “no other way” to undertake PGD besides Dr. Kearns’s

invention, LabCorp is misinformed. In fact, there are at least two other processes for

undertaking PGD that are currently either in use or in development and described in the

relevant scientific and medical literature. Ex. 3 at ¶ 9. Assuming it is otherwise valid, Dr.



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   Because its argument that the carve-out no longer applies is so weak, LabCorp instead
resorts to the timeworn tactic of character assassination. Seeded throughout its brief are
claims that Dr. Kearns lied about and tried to hide his new lab, that he currently offers
genetic services not described in the Provisional, and that he personally benefits from
confidential LabCorp information. Each of these claims is false. Dr. Kearns told Mr.
Schmalz about his lab, and not simply that it was a “research” lab. Ex. 1 at ¶ 33, 40, 44;
Ex. 2 at 195-98. Moreover, he authorized a press release when the new lab opened, that
prominently featured both his and AdvaGenix’s names. Ex. 2 at 202-03. Dr. Kearns does
not currently offer any services not described in the Provisional. Id. at 149, 181. And his
supposed “intimate knowledge” of “highly confidential” sales or marketing information
is a myth; he rarely discussed these issues and, when he did, the discussions concerned
how he had solved problems, or priced services before LabCorp acquired the Shady
Grove Center. Ex. 2 at 102-107. Particularly unsupported is the notion that Dr. Kearns
somehow benefits from “confidential” pricing strategies, as LabCorp’s pricing—like the
pricing of every PGD clinic—is well known in the industry. Id. at 117.

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Kearns’s non-compete would still prevent him from undertaking PGD according to these

processes. Ex. 2 at 244, 260-62.

        Finally, LabCorp argues (Mot. 17) that, because Dr. Kearns currently uses two

different methods interchangeably for obtaining test results from the genetic material he

collects as a result of his PGD process—only one of which was mentioned by name in the

Provisional—he has somehow departed from that process and the patent carve-out no

longer applies. This argument, which is premised on another fundamental

misunderstanding of the relevant science and technology by LabCorp, lacks all merit.

        The invention described in the Provisional was one, having many steps, that

achieved what was then a novel process for removing an embryonic cell, applying sterile

techniques to avoid contamination, producing many copies of the genomic DNA derived

from the embryonic cell and, finally, identifying genomic variations in the embryo that

would counsel against embryo transfer. Ex. 3 at ¶¶ 5-7. Today, the process invented by

Drs. Kearns and Leach and described in the Provisional has become a leading standard

throughout the world for undertaking PGD. Id. at ¶ 13.

        At the very end of the process Drs. Kearns and Leach invented and described in

the Provisional, they identified a particular assay platform, or testing methodology, that

they were able to employ, for the very first time, in analyzing the structure of the

embryonic genome. Ex. 1 at ¶ 15; Ex. 1-A at 67. That testing methodology is known as

“array based genotyping” or “microarray.” Ex. 3 at ¶ 14.



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        At AdvaGenix, Dr. Kearns employs the microarray method addressed in the

Provisional, as well as a second, newer methodology, known as “next-generation

sequencing,” which was not mentioned by name in the Provisional. Ex. 1 at ¶ 16. Both

testing methodologies, however, do exactly the same thing, and they do it at essentially

the same speed and with equally high degrees of reliability. Ex. 3 at ¶ 15. As Dr. Leach

explains, for LabCorp to suggest that employing next-generation sequencing materially

deviates from the process described in the Provisional—a process that he invented—is

“like saying the wheat harvested from a field using an International Harvester combine is

different from wheat harvested from a field using a John Deere combine. The machines

may be different, but the goals, methods, approach and everything else are the same.” Id.

at ¶ 16. LabCorp, in short, is quite unlikely to succeed on the merits of its claim that Dr.

Kearns exceeded the “broad[]” bounds of his permitted conduct under the carve-out.4

        B.       The Non-Compete and Non-Solicitation Covenants In Any Event Are
                 Overbroad and Unenforceable

        Although LabCorp claims that Dr. Kearns violated the non-compete and non-

solicitation covenants in his Employment Contract, it is clear that both restrictive

covenants are overbroad and hence unenforceable under settled North Carolina law.




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   Even if LabCorp’s testing method argument had merit, Dr. Kearns would still be
permitted to undertake PGD employing the “microarray” testing platform he currently
applies in certain of his cases. He would simply do so, during the restricted period, as his
exclusive testing method.

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                 1. The Non-Compete

        “Covenants not to compete between an employer and employee are ‘not viewed

favorably’” in North Carolina. Farr Assocs. v. Baskin, 530 S.E.2d 878, 881 (N.C. App.

2000). The party seeking enforcement of a restrictive covenant has the burden of proving

the reasonableness of the agreement. Hartman v. W.H. Odell and Assocs., Inc., 450

S.E.2d 912, 916 (N.C. App. 1994).

                      a. LabCorp Has No Legitimate Business Interest In Prohibiting
                         Dr. Kearns From Working For A Competitor In Every
                         Possible Capacity

        It is settled in North Carolina that, “[t]o be valid, the restrictions on the

employee’s future employability by others must be no wider in scope than is necessary to

protect the business of the employer.” VisionAIR, Inc. v. James, 606 S.E.2d 359, 362-63

(N.C. App. 2004) (citations and quotations omitted). Thus, “[i]f a non-compete covenant

is too broad to be a reasonable protection to the employer’s business . . . [t]he courts will

not rewrite [it] but will simply not enforce it.” Id. (quoting Whittaker Gen. Med. Corp. v.

Daniel, 324 N.C. 523, 528 (1989)) (emphasis added).

        Under these principles, “[w]here a covenant requires an employee to have no

association whatsoever with any business irrespective of whether he or she would be in a

position to compete or divulge protected information, the covenant is overbroad.”

Asheboro Paper and Packaging, Inc. v. Dickinson, 599 F.Supp.2d 664, 674 (M.D.N.C.

2009) (Schroeder, J.). Put another way, “restrictive covenants are unenforceable where

they prohibit the employee from engaging in future work that is distinct from the duties

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actually performed by the employee.” Medical Staffing Network v. Ridgeway, 670 S.E.2d

321, 327 (N.C. App. 2009). In contrast, restrictions limited to “barring an employee from

working in an identical position for a direct competitor are valid and enforceable.” Id.

(citing Precision Walls, Inc. v. Servie, 568 S.E.2d 267, 273 (N.C. App. 2002)).

        North Carolina courts “have held on numerous occasions that covenants restricting

an employee from working in a capacity unrelated to that in which he or she worked for

the employer are generally overbroad and unenforceable.” CopyPro, Inc. v. Musgrove,

754 S.E.2d 188, 192-93 (N.C. App. 2014) (collecting cases); accord Horner Int’l Co. v.

McKoy, 754 S.E.2d 852, 857 (N.C. App. 2014). Here, the non-compete seeks to preclude

Dr. Kearns not only from competing with LabCorp in the field of PGD, but also from

working for a competitor in any capacity; even, for example, as a custodian or IT

manager. See Ex. 1-D at ¶ 9(a)(iii). Additionally, the covenant precludes Dr. Kearns from

working for any person, trade or business that “supplies, services, advises or consults

with” a PGD competitor. Id. Thus, for example, it prohibits Dr. Kearns from opening a

business that provides custodial services or IT consulting to a PGD competitor of

LabCorp. See id. For these reasons, the non-compete is unenforceable in North Carolina.

        The lone North Carolina decision upholding a non-competition agreement that

barred a former employee from working for a competitor in any capacity, Precision

Walls, supra, has since been limited by the North Carolina courts to its specific facts.

See, e.g., Horner Int’l, 754 S.E.2d at 857 (“it is the broad sweep of the activities covered

by the [non-compete] which renders the agreement overbroad and thus unenforceable.

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Accordingly, [Precisions Walls, Inc. is] largely inapposite”); VisionAIR, 606 S.E.2d at

362 n. 1; Asheboro Paper & Packaging, 599 F. Supp. 2d at 675 (“It is difficult to square

[Precision Walls] cleanly with the rest of the North Carolina cases”).5 Here, in short,

there is no reason to depart from the general rule that covenants restricting an employee

from working in a capacity unrelated to that in which he or she worked for the employer

are overbroad and unenforceable. See CopyPro, 754 S.E.2d at 192-93.6

                     b. The Non-Compete Cannot Be Blue-Penciled To Make It
                        Enforceable

        A covenant must rise or fall integrally. Henley Paper Co. v. McAlister, 117 S.E.2d

431, 435 (N.C. 1960). “When the language of a covenant not to compete is overly broad,

North Carolina’s ‘blue pencil’ rule severely limits what the court may do to alter the

covenant.” Hartman, 450 S.E.2d at 920. At most, “[a] court . . . may choose not to

enforce a distinctly separable part of a covenant in order to render the provision


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  Moreover, Precision Walls is distinguishable from this case, where the only meaningful
proprietary “information and knowledge,” 568 S.E.2d at 273, from Dr. Kearns’s LabCorp
tenure that he could conceivably impart to a competitor consists of his own process for
undertaking PGD, which, of course, is now in the public domain. Ex. 1 at ¶ 29; Ex. 2 at
102-107.
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   The non-compete is unenforceable on at least two additional grounds. First, the
territorial restriction is overbroad in precluding Dr. Kearns from competing with
LabCorp’s subsidiaries and affiliated companies in geographic markets serviced by them,
without regard to whether LabCorp or Dr. Kearns serviced those geographic markets
during the term of Dr. Kearns’s employment. See Medical Staffing Network, 670 S.E.2d
at 327-28. Second, the agreement prevents Dr. Kearns from owning even an indirect
interest in a similar business. Courts routinely reject prohibitions on “direct or indirect”
ownership and investment as overbroad. See Prometheus Group Enterprises, LLC v.
Viziya Corp., No. 5:14–CV–32–BO, 2014 WL 3854812, *5 (E.D.N.C. Aug. 5, 2014);
VisionAIR, 606 S.E.2d at 362-63; Horner Int’l, 754 S.E.2d at 857.

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reasonable.” Id. Here, the overbroad terms in the non-compete are not distinctly separable

portions that the Court could blue-pencil without effectively rewriting the covenant. See

Asheboro Paper, 599 F.Supp.2d at 676. Accordingly, LabCorp’s motion for a preliminary

injunction that seeks to enforce the non-compete covenant in Section 9(a)(iii) of the

Employment Contract should be denied.

                 2. The Non-Solicitation Covenant Is Likewise Overbroad and
                    Unenforceable

        For several reasons, the non-solicitation covenant is also overbroad and

unenforceable in seeking to prohibit Dr. Kearns from “contacting, soliciting, or

communicating with a customer or potential customer of [LabCorp] or its subsidiary or

affiliated companies.” Ex. 1-D at ¶ 9(a)(i).

        First, the non-solicitation fails to identify or define “customers or potential

customers.” See id. North Carolina courts have declined to enforce non-solicitation

provisions with similar references to undefined customers on the grounds that they (1) go

beyond the scope of the employer’s legitimate business interests or (2) are unacceptably

vague and nebulous. See MJM Investigations, Inc. v. Sjostedt, 2010 WL 2814531, *3

(N.C. App. July 20, 2010); Hejl v. Hood, Hargett & Assocs., 674 S.E.2d 425, 430 (N.C.

App. 2009); see also Farr & Assocs., 530 S.E.2d at 882. In MJM Investigations, the

covenant sought to preclude solicitation of “any client or prospect client” of the plaintiff

for the purposes of providing competing services. 2010 WL 2814531, at *3. The court

disapproved the inclusion of unspecified “prospect clients” because it “could potentially


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refer to prospects at the time the agreement was executed, at the time the defendants left

MJM’s employ, or someone unknown who only became a prospect during the period of

the injunction.” Id. As such, the court held that “MJM’s failure to provide any definition

for ‘current or prospect client’ renders the non-solicitation clause vague and

unenforceable” and reversed the trial court’s grant of a preliminary injunction based on

the non-solicit. Id.

        Here, the non-solicitation agreement also precludes Dr. Kearns from contacting or

soliciting “potential customers” without defining that term. Ex. 1-D at ¶ 9(a)(i). That the

prohibition is limited to those “with whom [Dr. Kearns] had contact while employed at

[LabCorp],” id., does not cure the overbreadth problem. For example, the non-solicitation

could be read to prohibit Dr. Kearns from soliciting someone he taught at Johns Hopkins

during his employment with LabCorp even though he did not know the student was a

potential customer of LabCorp at the time or might become a potential customer during

the term of the preliminary injunction. See id.

        Second, the non-solicit is overbroad and unenforceable because it purports to

prohibit not only Dr. Kearns’s active solicitation of customers and potential customers,

but also his passive acceptance of business from LabCorp’s customers who contact him.

Specifically, Section 9(a)(i) prohibits, inter alia, all direct or indirect “contact . . . and

communicat[ion] with a customer or potential customer” for purposes of providing PGD

services. Ex. 1-D at ¶ 9(a)(i) (emphasis added). In effect, the covenant precludes

Dr. Kearns from merely accepting calls from LabCorp’s customers who were unsatisfied

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with LabCorp’s services and preferred the services of AdvaGenix. See id. Thus, the non-

solicitation restricts the customers’ freedom to choose their PGD provider.

        While not specifically addressed by any North Carolina court, courts in other

jurisdictions have rejected as overbroad or contrary to public policy similar efforts to

prohibit mere acceptance of business from a former employer’s customers. See, e.g.,

Curtis 1000, Inc. v. Martin, 197 Fed.Appx. 412, 420 (6th Cir. 2006) (applying Georgia

law); Gen. Assurance of Am., Inc. v. Overby-Seawell Co., 893 F.Supp.2d 761, 775-76

(E.D. Va. 2012) (same); Robert Half, Int’l v. Murray, 2008 WL 2625857, *12 (E.D. Cal.

June 25, 2008); Cardiovascular Surg. Specialists, Corp. v. Mammana, 61 P.3d 210, 214

(Okla. 2002) (covenant precluding physician from accepting referrals, including patients

who specifically requested physician, was unenforceable); Bayly, Martin & Fay, Inc. v.

Pickard, 780 P.2d 1168, 1175 (Okla. 1989) (absent “active solicitation . . ., restraint on an

insurance agent’s dealings with former clients is unenforceable”). Thus, by prohibiting all

communication and contact between Dr. Kearns and the customers and potential

customers of LabCorp, the non-solicit goes well beyond protecting LabCorp’s customer

relationships from Dr. Kearns’s interference and should not be enforced.

        Further, the ambiguous reference to “customer or potential customer of [LabCorp]

or its subsidiary or affiliated companies,” Ex. 1-D at ¶ 9(a)(i), renders the non-solicit

unenforceable. The clause could be read to prohibit solicitation of LabCorp’s customers

and potential customers and the affiliates and subsidiaries of those customers and

potential customers. See id. Because LabCorp may have no relationship with the affiliates

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and subsidiaries of its customers, the non-solicit either is clearly overbroad or, at best,

ambiguous, meaning in either event that LabCorp cannot make “the requisite showing

that it is likely to succeed on the merits.” Novacare Orthotics, 528 S.E.2d at 922.

        Finally, like the non-compete, the non-solicit cannot be blue-penciled to make it

enforceable. The overbroad and undefined provisions regarding any customer or potential

customer of LabCorp or its subsidiary or affiliated companies is not a distinct, separable

term. Accordingly, the non-solicitation covenant exceeds the scope of LabCorp’s

legitimate business interests and should not be enforced.

        III.     LabCorp Cannot make a Clear Showing of Irreparable Harm

        LabCorp claims (Mot. 18) it has been irreparably harmed by the loss of several

customers and a loss of goodwill to AdvaGenix. LabCorp, however, has no one but itself

to blame for these losses. The evidence shows that AdvaGenix undertook PGD for one-

time LabCorp customers only after those clinics discovered that LabCorp’s contract lab

either would not or could not timely complete their cases and implored AdvaGenix to

step in. Ex. 2 at 135-38, 188-90, 264. Those clinics are lost to LabCorp whether or not

AdvaGenix ever performs another PGD case, so a preliminary injunction cannot repair

LabCorp’s self-inflicted harm and hence should not be entered. Southtech Orthopedics,

Inc. v. Dingus, 428 F. Supp. 2d 410, 418 (E.D.N.C. 2006) (no irreparable harm where




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“plaintiff's loss of customers and/or goodwill is just as likely attributable to plaintiff's

own strategic business decisions as defendant's competitive conduct”).7

        IV.      The Balance of Equities Tips Against LabCorp and in Favor of the
                 Patients it Cannot Serve

        LabCorp and its contract lab are incapable of or unwilling to perform the very

kinds of difficult or time-sensitive cases that have always been and continue to be Dr.

Kearns’s niche in the industry. Ex. 2 at 101, 267-68. Overwhelmingly, these are the cases

LabCorp has lost and will continue to lose to AdvaGenix. Id. at 264. While the entry of a

preliminary injunction will not restore a single one of these cases to LabCorp, it could

well leave emotionally vulnerable IVF patients without the best possible care. Id. at 265.

The equities, in short, tip in favor of those patients, and against LabCorp.

        V.       The Public Interest Similarly Favors IVF Patients Over LabCorp

        LabCorp argues (Mot. 20) that the public interest favors the enforcement of valid

contracts, and so it does. But, even if one were to assume, arguendo, that LabCorp’s

restrictive covenants were valid, two other public interests countervail and overcome the

interest in enforcing contracts: first, North Carolina’s “disfavor[]” of restrictive

covenants, Superior Performers, Inc. v. Meaike, No. 1:13CV1149, 2014 WL 1412434, at


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  And, even assuming arguendo that LabCorp could prove that it lost other occasional
cases to AdvaGenix for reasons other than its contract lab’s inherent limitations, money
damages would fully compensate LabCorp for any such loss, leaving LabCorp unable to
clearly show irreparable harm. Southtech Orthopedics, 428 F. Supp. 2d at 422 (there is no
“irreparable harm . . . [where] alleged loss of customers, sales, and market share is
compensable in money damages”).


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*16 (M.D.N.C. Apr. 11, 2014) (where the court weighed both interests); and, second, the

public’s “vital interest in quality and efficient health care,” Southtech Orthopedics, 428 F.

Supp. 2d at 421 (finding that this interest outweighed the public “interest in ensuring that

contracts are enforced”). The public interest, in short, is best served by denying

LabCorp’s motion for a preliminary injunction.

                                     CONCLUSION

        For the foregoing reasons, LabCorp’s motion for a preliminary injunction should

be denied.

        Respectfully submitted this 5th day of January, 2015.

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                              CERTIFICATE OF SERVICE

        I have this 5th day of January, 2015 filed electronically the within and foregoing

Opposition to LabCorp Motion for a Preliminary Injunction and a copy of the same will

be served electronically upon the following attorneys of record via the Court’s CM/ECF

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